        Case
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

ALEXA SPRIGGS, et al.                     *
    Plaintiffs,                           *
                                          *
  v.                                      * Case No.: 1:20-cv-3395
                                          *
GEORGE MERLING, et al.                    *
      Defendants.                         *
******************************************************************************
                                   ORDER

       This matter is before the Court upon the Parties’ Joint Motion for Extension of Scheduling

Order (the “Joint Motion”). Upon consideration of the Joint Motion, and the record herein, and

finding it appropriate to do so, it is on this 28th day of October, 2021, hereby

       ORDERED, that the Joint Motion is GRANTED; and it is further

       ORDERED, that the Scheduling Order is EXTENDED as follows:

         EVENT                  CURRENT DEADLINE                    PROPOSED DEADLINE
 Discovery deadline;          September 20, 2021                  December 20, 2021
 submission of status
 report

 Requests for admission       September 27, 2021                  December 27, 2021

 Dispositive pretrial         October 18, 2022                    January 18, 2022
 motions deadline




                                                      /s/
                                      ________________________________
                                      The Honorable Stephanie A. Gallagher
                                      United States District Judge
